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                                                 22-1721
                              United States Court of Appeals
                                  for the Fourth Circuit
              MAXWELL KADEL; JASON FLECK; CONNOR THONEN-FLECK; JULIA MCKEOWN;
                  MICHAEL D. BUNTING, JR.; C.B., by his next friends and parents;
                                SAM SILVAINE; DANA CARAWAY,
                                                                          Plaintiffs-Appellees,
                                                            v.
             DALE FOLWELL, in his official capacity as State Treasurer of North Carolina;
                DEE JONES, in her official capacity as Executive Administrator of the
               North Carolina State Health Plan for Teachers and State Employees,
                                                                          Defendants-Appellants,
             NORTH CAROLINA STATE HEALTH PLAN FOR TEACHERS AND STATE EMPLOYEES;
                    STATE OF NORTH CAROLINA DEPARTMENT OF PUBLIC SAFETY,
                                                                          Defendants.

                                On Appeal from the United States District Court
                                   for the Middle District of North Carolina
                                              No. 1:19-cv-00272

               BRIEF FOR STATES OF NEW YORK, CALIFORNIA, COLORADO,
                   DELAWARE, HAWAI‘I, ILLINOIS, MAINE, MARYLAND,
                 MASSACHUSETTS, MINNESOTA, NEVADA, NEW JERSEY,
                   NEW MEXICO, OREGON, RHODE ISLAND, VERMONT,
                  AND WASHINGTON, AND THE DISTRICT OF COLUMBIA
                     AS AMICI CURIAE IN SUPPORT OF APPELLEES


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                           INTERESTS OF AMICI CURIAE

              The States of New York, California, Colorado, Delaware, Hawai‘i,

        Illinois, Maine, Maryland, Massachusetts, Minnesota, Nevada, New Jersey,

        New Mexico, Oregon, Rhode Island, Vermont, and Washington, and the

        District of Columbia file this brief as amici curiae in support of appellees.

        Amici strongly support the right of transgender people to live with dignity,

        be free from discrimination, and have equal access to healthcare. Accord-

        ingly, amici have adopted laws and policies aimed at combatting discrim-

        ination against transgender people who seek access to healthcare—

        including policies that guarantee nondiscriminatory insurance coverage

        of gender-affirming medical care. Amici are also committed to supporting

        their transgender employees and the transgender family members of

        their employees. To that end, amici’s state employee healthcare plans

        uniformly cover medically necessary, gender-affirming care.

              Amici have a strong interest in this case. Among other things, amici

        recognize that discrimination based on transgender status—especially in

        access to healthcare—causes tangible economic, emotional, and health

        harms to valued members of our communities. Amici also have a substan-

        tial interest in ensuring that the Equal Protection Clause is properly
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        applied to protect transgender Americans from stigma and discrimination.

        Amici’s experience demonstrates that protecting access to gender-affirm-

        ing care improves health outcomes for our transgender residents at little

        cost to the public fisc.


                                      ARGUMENT

                                        POINT I

             AMICI PROTECT ACCESS TO GENDER-AFFIRMING HEALTHCARE
             BASED ON WELL-ACCEPTED MEDICAL STANDARDS

              Amici’s laws protect their transgender residents by increasing their

        access to healthcare, not by denying it. Lack of access to healthcare for

        transgender individuals results in devastating and tangible economic,

        emotional, and health consequences. Accordingly, many of the amici have

        worked to ensure that their residents have access to gender-affirming

        healthcare and to allow doctors to practice medicine in adherence both to

        well-accepted medical standards and to our anti-discrimination laws. In

        amici’s experience, these laws and policies protect state residents without

        harm to the public fisc and without the administrability challenges

        suggested by appellants.




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        A.    Discrimination Against Transgender People in Access to
              Healthcare Significantly Harms Amici and Their Residents.

              Transgender people face significant barriers to receiving both

        routine and transition-related care, including lack of adequate insurance

        coverage, provider ignorance about the health needs of transgender

        people, and outright denial of services. 1 Denial of access to medically

        necessary care has serious consequences for transgender residents and

        public health generally. Transgender people with gender dysphoria often

        suffer from severe distress due to the stigma associated with their gender

        identity.2 Among transgender people, there are higher rates of suicidal

        thoughts and attempts than in the overall U.S. population.3 The risks are




              1 Sandy E. James et al., The Report of the 2015 U.S. Transgender

        Survey 93 (Nat’l Ctr. For Transgender Equal. 2016) (internet); see also
        Morning Consult & The Trevor Project, How COVID-19 Is Impacting
        LGBTQ Youth slide 25 (2020) (internet). (For sources available online,
        full URLs appear in the Table of Authorities. All URLs were last visited
        on October 7, 2022.)
              2 See James et al., supra, at 103.

              3 Ann P. Haas et al., Am. Found. for Suicide Prevention & Williams

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        Adults: Findings of the National Transgender Discrimination Survey 2
        (2014) (internet).
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        especially high among transgender youth.4 If unaddressed, gender

        dysphoria can impact quality of life, cause fatigue, and trigger decreased

        social functioning.5 Those suffering from gender dysphoria have an

        increased risk of HIV and AIDS due to inadequate access to care. 6

              Access to gender-affirming healthcare and other medical interven-

        tions that improve mental health are especially important to transgender

        and nonbinary minors, who already experience additional stresses

        stemming from discrimination, harassment, and stigma experienced in

        their daily lives. 7 The Centers for Disease Control and Prevention has



              4 See, e.g., id.; Cal. Dep’t of Ins., File No. REG-2011-00023, Economic

        Impact Assessment: Gender Nondiscrimination in Health Insurance 10
        (Apr. 13, 2012) (internet) (“A recent systematic review of largely American
        samples gives a suicide attempt rate of approximately one in every three
        individuals with higher rates found among adolescents and young adults.”).
              5 See Emily Newfield et al., Female-to-Male Transgender Quality of

        Life, 15 Quality of Life Rsch. 1447 (2006) (internet).
              6 See Ctrs. for Disease Control & Prevention, HIV and Transgender

        People (Apr. 2022) (internet).
              7 “People who identify as transgender have higher rates of mental

        health complications than those in the general population due to stigma
        and discrimination. In addition to a higher prevalence of mental health
        issues, transgender people typically experience barriers to healthcare,
        such as refusal of care, violence, and a lack of provider knowledge. This
        suggests that these experiences, and not being transgender itself, may
        predict and contribute towards mental health difficulties.” Louise
                                                                     (continued on the next page)


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        found that transgender students are more likely to report feeling unsafe

        at or going to and from school, being bullied at school, being threatened

        or injured with a weapon at school, being forced to have sex, and

        experiencing physical and sexual dating violence. 8 About 23.8 percent of

        transgender students reported being threatened or injured with a weapon

        at school, for example, compared with 6.4 percent of cisgender boys and

        4.1 percent of cisgender girls. 9 Transgender students who experienced

        higher levels of victimization due to their gender identity were three

        times more likely to have missed school in a given month than other

        students.10 Transgender youth whose restroom and locker room use was

        restricted were more likely to experience sexual assault compared with




        Morales-Brown, What to Know About Mental Health Among Transgender
        Individuals, Med. News Today (May 20, 2021) (internet).
              8 Michelle M. Johns et al., Transgender Identity and Experiences of

        Violence Victimization, Substance Use, Suicide Risk, and Sexual Risk
        Behaviors Among High School Students — 19 States and Large Urban
        School Districts, 2017, 68 Morbidity & Mortality Wkly. Rep. 67, 69 (2019)
        (internet).
              9 Id.

              10Movement Advancement Project & GLSEN, Separation and
        Stigma: Transgender Youth and School Facilities 4 (2017) (internet).
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        those without restrictions.11 These harms have been further exacerbated

        by the COVID-19 pandemic and the limited availability of healthcare

        resources.12 Indeed, about 34 percent of transgender and nonbinary youth

        reported that the pandemic has been “[m]uch more stressful” compared

        with 20 percent of cisgender heterosexual youth. 13


        B.    Amici’s Laws and Policies Promote Access
              to Gender-Affirming Medical Care Based on
              Established Medical Standards.

              Given the significant adverse consequences described above, amici

        have enacted laws and regulations explicitly prohibiting insurers from

        discriminating against medically necessary, transition-related care in

        their insurance policies. These protections increase access to healthcare

        for transgender individuals by barring discriminatory health insurance

        coverage that contravenes both best medical practice and legal standards

        prohibiting discrimination on the basis of gender identity.


              11 Gabriel R. Murchison et al., School Restroom and Locker Room

        Restrictions and Sexual Assault Risk Among Transgender Youth, Pediat-
        rics, June 2019, at 1 (internet).
              12 See Off. for C.R., U.S. Dep’t of Educ., Education in a Pandemic:

        The Disparate Impacts of COVID-19 on America’s Students iv, 27-30 (2021)
        (internet).
              13 Morning Consult & The Trevor Project, supra, at slide 20.


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              Since 2012, at least 24 States and the District of Columbia have

        prohibited health insurance discrimination against transgender people.14

        In New York, for example, laws and regulations ensure that transgender

        patients are not denied or limited coverage for care that is ordinarily

        available.15 In 2014, the New York State Department of Financial Services

        (NYDFS) confirmed that New York law prohibits health plans subject to

        its jurisdiction from denying “medically necessary treatment otherwise

        covered by a health insurance policy or contract . . . solely on the basis

        that the treatment is for gender dysphoria.”16 In 2019, NYDFS reconfirmed

        that “New York state law prohibits discrimination based on sexual




              14 Movement Advancement Project, Healthcare Laws and Policies:

        Nondiscrimination in Private Insurance and Bans on Transgender Exclu-
        sions (updated June 22, 2022) (internet).
              15 See, e.g., N.Y. Ins. Law §§ 2607 (prohibiting issuers from refusing

        to issue insurance policy or contract, or cancel or decline to renew such
        policy or contract, because of the sex of the applicant or policyholder, and
        defining sex to include transgender status), 3243, 4330 (prohibiting
        discrimination in health insurance policies or contracts because of sex,
        and defining sex to include transgender status); 11 N.Y.C.R.R. § 52.72
        (same); 18 N.Y.C.R.R. § 505.2(l) (expanding Medicaid coverage for gender-
        affirming care).
              16 NYDFS, Ins. Circular Letter No. 7, Health Insurance Coverage

        for the Treatment of Gender Dysphoria (Dec. 11, 2014) (internet).
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        orientation, gender identity or expression, or transgender status.”17 And

        in 2021, NYDFS announced that insurance carriers in New York, including

        some that previously excluded some or all gender-affirming treatments,

        were complying with the new requirements to provide coverage for all

        gender-affirming treatments for gender dysphoria. 18

              Likewise, in 2012, the California Insurance Commissioner adopted

        regulations prohibiting private insurers from denying coverage for medi-

        cally necessary “services related to gender transition . . . including but

        not limited to hormone therapy” if the same services are available when

        unrelated to gender transition.19 And in 2014, the Massachusetts Division

        of Insurance issued guidance stating that “denial of coverage for medically

        necessary treatment based on an individual’s gender identity or gender

        dysphoria by any [insurance] Carrier is sex discrimination that is prohi-




              17 NYDFS, Ins. Circular Letter No. 8, Discrimination Based on Sexual

        Orientation, Gender Identity or Expression, or Transgender Status (July
        23, 2019) (internet).
              18 Press Release, NYDFS, NYS Office of Mental Health and Depart-

        ment of Financial Services Announce NY Insurance Carriers Complying
        with State Requirements to Provide Coverage for All Gender-Affirming
        Treatments (June 29, 2021) (internet).
              19 Cal. Code Regs. tit. 10, § 2561.2(a)(4)(A), (b).


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        bited under Massachusetts law.” 20 Many other States’ laws, regulations,

        and guidance likewise prohibit insurers from gender identity discrimina-

        tion in healthcare. 21



              20 Mass. Off. of Consumer Affs. & Bus. Regul., Div. of Ins., Bulletin

        2014-03, Guidance Regarding Prohibited Discrimination on the Basis of
        Gender Identity or Gender Dysphoria Including Medically Necessary
        Transgender Surgery and Related Health Care Services 1 (June 20, 2014)
        (internet). The Massachusetts Division of Insurance reaffirmed this guid-
        ance in 2021. See Mass. Off. of Consumer Affs. & Bus. Regul., Div. of Ins.,
        Bulletin 2021-11, Continuing Applicability of Guidance Regarding Prohi-
        bited Discrimination on the Basis of Gender Identity or Gender Dysphoria
        Including Medically Necessary Gender Affirming Care and Related Ser-
        vices (Sept. 9, 2021) (internet).
              21 See, e.g., District of Columbia: D.C. Code § 31-2231.11(c); D.C.

        Dep’t of Ins., Sec. & Banking, Bulletin 13-IB-01-30/15, Prohibition of
        Discrimination in Health Insurance Based on Gender Identity or Expres-
        sion (revised Feb. 27, 2014) (internet). Hawai‘i: Haw. Rev. Stat. Ann.
        §§ 431:10A-118.3(a), 432:1-607.3, 432D-26.3. Illinois: Ill. Admin. Code
        tit. 50, § 2603.35; Ill. Dep’t of Hum. Rts. et al., Guidance Relating to
        Nondiscrimination in Healthcare Services in Illinois (June 26, 2020)
        (internet); Ill. Dep’t of Ins., Bulletin 2020-16, Health Insurance Coverage
        for Transgender, Nonbinary, and Gender Nonconforming Individuals,
        and for Individuals of All Sexual Orientations (June 15, 2020) (internet).
        Maine: Me. Rev. Stat. Ann. tit. 5, § 285(9)(G); Me. Rev. Stat. Ann. tit. 24-
        A, § 4320-L. Maryland: Md. Code Ann., Ins. § 15-1A-22(d). New Jersey:
        N.J. Stat. Ann. §§ 17B:26-2.1ii, 17B:27-46.1oo, 26:2J-4.40, 52:14-17.29x.
        New Mexico: N.M. Off. of Superintendent of Ins., Bulletin 2018-013,
        Transgender Non-Discrimination in Health Insurance Benefits (Aug. 23,
        2018) (internet). Vermont: Vt. Dep’t of Fin. Regul., Ins. Bulletin 174,
        Guidance Regarding Prohibited Discrimination on the Basis of Gender
        Identity Including Medically Necessary Gender Dysphoria Surgery and
        Related Health Care (revised June 12, 2019) (internet); Dep’t of Vt.
                                                                   (continued on the next page)


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              Consistent with their support of transgender rights, many amici’s

        state employee healthcare plans include coverage for medically necessary,

        gender-affirming healthcare.22 For example, the New York State Health

        Insurance Program, which serves more than 1.2 million state and local

        government employees, retirees, and their families, 23 covers medically

        necessary, gender-affirming surgery and other associated procedures. 24

        The California Public Employees’ Retirement System (CalPERS), which

        provides health coverage to the more than 1.5 million members and their

        families, 25 covers these procedures as well. 26




        Health Access, Medical Policy, Gender Affirmation Surgery for the
        Treatment of Gender Dysphoria (last reviewed Nov. 1, 2019) (internet).
        Washington: Wash. Rev. Code Ann. § 48.43.0128(3); Wash. Admin. Code
        § XXX-XX-XXXX; Letter from Mike Kreidler, Wash. Ins. Comm’r, to Health
        Ins. Carriers (June 25, 2014) (internet).
              22 See Transgender Legal Def. & Educ. Fund, State Employee Health

        Plans: States with No Exclusions (internet).
              23 N.Y. State Dep’t of Civ. Serv., New York State Health Insurance

        Program (internet).
              24N.Y. State Dep’t of Civ. Serv., Empire Plan Report (Oct. 2019)
        (internet).
              25 CalPERS, About CalPERS: Facts at a Glance for Fiscal Year 2020-

        21 (internet).
              26 Bloomberg L., CalPERS Says It Will Add Coverage for Trans-

        gender Medical Services (July 2, 2013) (internet).
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              Amici’s laws and policies are rooted in well-established medical

        standards recognizing that medical necessity determinations are properly

        grounded in evidence-based medicine. 27 For example, the New York State

        Office of Mental Health issued a memorandum in 2020 requiring New

        York–regulated insurance policies to develop evidence-based and peer-

        reviewed criteria to be used when making medical necessity determina-

        tions for the treatment of gender dysphoria, and to submit those criteria

        to the Office of Mental Health for review and approval. 28 The Minnesota

        Department of Commerce applies to insurers the medical standards set

        forth by the World Professional Association for Transgender Health

        (WPATH), an international professional association that provides evidence-

        based standards of care for transgender people.29 A California opinion



              27 See World Pro. Ass’n for Transgender Health, Standards of Care

        for the Health of Transsexual, Transgender, and Gender-Nonconforming
        People 14 (ver. 7, 2012) (internet).
              28 N.Y. State Off. of Mental Health, Mem. to Plan Adm’rs, Clinical

        Review Criteria for the Treatment of Gender Dysphoria (Mar. 18, 2020)
        (internet).
              29 See Maximus Ctr. for Health Dispute Resolution, Appeal Deter-

        mination in File No. MN2014-0075 (Aug. 11, 2014) (internet); see also
        Minn. Dep’t of Com., Admin. Bulletin 2015-5, Gender Identity Nondiscrim-
        ination Requirements 2 (Nov. 24, 2015) (internet) (“Determination of
                                                                  (continued on the next page)


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        letter about coverage for transgender minors expressly cites to the WPATH

        standards as well. 30 Massachusetts similarly recommends insurance

        carriers “consult the most up-to-date medical standards set forth by

        nationally recognized medical experts in the transgender health field,

        including but not limited to those issued by the” WPATH.31

              Many other amici similarly follow established medical standards.32

        The District of Columbia, for example, has instructed that determina-



        medical necessity and prior authorization protocols for gender dysphoria-
        related treatment must be based on the most recent, published medical
        standards set forth by nationally recognized medical experts in the trans-
        gender health field.”).
              30 Cal. Dep’t of Ins., Legal Op., Permissibility of Denial of Coverage

        Based Solely on Age for Female-to-Male Chest Reconstruction Surgery as
        Part of a Treatment for Gender Dysphoria 4-5 (Dec. 30, 2020) (internet).
              31 Mass. Off. of Consumer Affs. & Bus. Regul., Bulletin 2021-11,

        supra, at 2.
              32See, e.g., Colorado: 3 Colo. Code Regs. § 702-4:4-2-62; Press
        Release, Colo. Dep’t of Regul. Agencies, Division of Insurance Announces
        a New Resource for LGBTQ Coloradans (June 1, 2020) (internet).
        District of Columbia: D.C. Dep’t of Ins., Sec. & Banking, Bulletin 13-
        IB-01-30/15, supra, at 3-4. Maine: Press Release, GLBTQ Legal Advocs.
        & Defs., EqualityMaine, Maine Transgender Network, GLAD and Maine
        Women’s Lobby Announce Health Coverage for Transgender Individuals
        Under MaineCare (Oct. 3, 2019) (internet). Minnesota: Minn. Dep’t of
        Com., Admin. Bulletin 2015-5, supra, at 2. New York: NYDFS, Ins.
        Circular Letter No. 7, supra. Oregon: Or. Health Auth., Prioritized List:
        Guideline for Gender Dysphoria, Frequently Asked Questions (last updated
                                                                   (continued on the next page)


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        tions of “medical necessity” for insurance coverage purposes “must also

        be guided by providers in communication with individual patients” in

        accordance with established standards.33 Washington forbids insurers

        from “deny[ing] or limit[ing] coverage for gender affirming treatment”

        when it is medically necessary and “prescribed in accordance with accepted

        standards of care.”34 California encourages health insurance companies

        to evaluate coverage criteria for gender-affirming care “to avoid needlessly

        delaying and interfering with medical care recommended by a patient’s

        doctor.” 35

                Taken together, these laws and policies reflect amici’s core commit-

        ment to protecting the equality of all people, regardless of their gender




        Mar. 2019) (internet). Rhode Island: R.I. Off. of the Health Ins. Comm’r,
        Health Ins. Bulletin 2015-3, Guidance Regarding Prohibited Discrimi-
        nation on the Basis of Gender Identity or Expression 1 (Nov. 23, 2015)
        (internet).
                33 D.C. Dep’t of Ins., Sec. & Banking, Bulletin 13-IB-01-30/15, supra,

        at 4.
                34 Wash. Rev. Code Ann. § 48.43.0128(3)(a).


                Press Release, Cal. Dep’t of Ins., Commissioner Lara Takes
                35

        Proactive Step to Ensure Transgender Youth Have Access to Gender-
        Affirming Medical Care for Gender Dysphoria (Dec. 30, 2020) (internet).
                                               13
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        identity, and ensuring that people with gender dysphoria are not denied

        necessary healthcare.


        C.    Amici’s Laws and Policies Have Improved Health Outcomes
              for Transgender People at a Negligible Cost to the States.

              Amici’s laws and policies have improved health outcomes for trans-

        gender people at negligible cost to States. The benefits of access to health-

        care coverage for transgender people include, among other things, reduced

        suicide risk, lower rates of substance use, and increased adherence to

        HIV treatment.36 And studies overwhelmingly show that mental health

        for transgender minors especially improves when they have access to early

        treatment. A 2021 survey of nearly 12,000 transgender and nonbinary

        youth found that, for youth under the age of 18, use of gender-affirming



              36 See id.; Erin Digitale, Better Mental Health Found Among Trans-

        gender People Who Started Hormones as Teens, Stanford Med. News Ctr.
        (Jan. 12, 2022) (internet) (“Transgender adults who started gender-
        affirming hormone therapy as teens had better mental health than those
        who waited until adulthood or wanted the treatment but never received
        it . . . .”); Arjee Restar et al., Gender Affirming Hormone Therapy Dosing
        Behaviors Among Transgender and Nonbinary Adults, Humans. & Soc.
        Scis. Commc’ns, Sept. 7, 2022, at 1, 2 (internet) (“[H]ormone use has been
        shown to significantly improve psychological functioning and quality of
        life, reduce suicidal attempts and ideations, promote body satisfaction,
        and decrease gender dysphoria and is therefore considered medically
        necessary for many trans people.”).
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        hormone therapy was associated with 39 percent lower odds of recent

        depression and 38 percent lower odds of attempting suicide in the past

        year compared to youth who wanted, but did not receive, such therapy.37

              At the same time, an economic impact analysis of California’s 2012

        regulation found that removing transgender exclusions had an “immate-

        rial” effect on premium costs, leading the California Department of Insur-

        ance to conclude that “the benefits of eliminating discrimination far exceed

        the insignificant costs.” 38 Similarly, in 2016, a study supported by the

        Massachusetts Group Insurance Commission found that the benefits of

        gender-affirming medical treatment outweigh the costs, noting that “these




              37 Amy E. Green et al., Association of Gender-Affirming Hormone

        Therapy with Depression, Thoughts of Suicide, and Attempted Suicide
        Among Transgender and Nonbinary Youth, 70 J. Adolescent Health 643,
        643 (2021) (internet); see also Jack L. Turban et al., Access To Gender-
        Affirming Hormones During Adolescence and Mental Health Outcomes
        Among Transgender Adults, PLOS One, Jan. 12, 2022, at 1, 8 (internet)
        (“After adjusting for demographic and potential confounding variables,
        access to [gender-affirming hormones] during adolescence (ages 14–17)
        was associated with lower odds of past-month severe psychological distress
        . . . , past-year suicidal ideation . . . , past-month binge drinking . . . , and
        lifetime illicit drug use . . . when compared to access to [gender-affirming
        hormones] during adulthood.”).
              38 Cal. Dep’t of Ins., Economic Impact Assessment, supra, at 8-9.


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        additional expenses hold good value for reducing the risk of negative

        endpoints—HIV, depression, suicidality, and drug abuse.” 39


                                        POINT II

                        THE DISCRIMINATORY COVERAGE EXCLUSION
                        VIOLATES THE EQUAL PROTECTION CLAUSE

              The district court correctly determined that the North Carolina

        State Health Plan for Teachers and State Employees (Plan) violates the

        Equal Protection Clause because it denies medically necessary, gender-

        affirming care on the basis of sex. As the district court explained, the

        exclusion “facially discriminate[s] based on sex and transgender status,”

        and is therefore subject to heightened scrutiny, because it “necessarily

        rests on a sex classification.” (Mem. Op. & Order (Op.) at 16-17, 42 (Aug.

        10, 2022), Dist. Ct. ECF No. 261 (quotation marks omitted).) The Supreme

        Court in Bostock v. Clayton County, 140 S. Ct. 1731 (2020), and this Court

        in Grimm v. Gloucester County School Board, 972 F.3d 586 (4th Cir. 2020),

        have found that discrimination based on transgender status is necessarily



              39 William V. Padula et al., Societal Implications of Health Insurance

        Coverage for Medically Necessary Services in the U.S. Transgender Popu-
        lation: A Cost-Effectiveness Analysis, 31 J. Gen. Internal Med. 394, 394
        (2016) (internet).
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        sex discrimination “because it is impossible to discriminate against a

        person for being . . . transgender without discriminating against that

        individual based on sex,” Bostock, 140 S. Ct. at 1741; accord Grimm, 972

        F.3d at 616. Here, the exclusion discriminates against transgender

        individuals because it fails to cover medically necessary treatments on

        the sole basis that those services relate specifically to the person’s

        transgender status or are treatment for a gender dysphoria diagnosis.

        The exclusion also “overtly discriminates against members for ‘failing to

        conform to the sex stereotype propagated by the [Plan]” by denying

        coverage on the basis of sex. (Op. at 42.)

              Harkening back to “‘a limited view of the Equal Protection Clause

        which has not withstood analysis in the subsequent decisions of’” the

        Supreme Court, Loving v. Virginia, 388 U.S. 1, 10 (1967) (quoting

        McLaughlin v. Florida, 379 U.S. 184, 188 (1964)), appellants’ argument

        boils down to the assertion that the Plan does not discriminate on the

        basis of sex or transgender status because its “coverage exclusion applies

        to all Plan members” (Br. for Appellants (Br.) at 23). But that is not the

        relevant inquiry. For example, Virginia’s ban on interracial marriage in

        Loving applied equally to all Virginians. Yet the Supreme Court struck


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        it down because even if it applied equally, it impermissibly and unjustifi-

        ably “rest[ed] solely upon distinctions drawn according to race.” Loving,

        388 U.S. at 10-11. Similarly, the school board in Grimm argued that its

        policy requiring students to use restrooms that match their biological

        gender did not violate equal protection because it “applie[d] to everyone

        equally.” 972 F.3d at 609. The Court rejected this argument, reasoning

        that it was like “saying that racially segregated bathrooms treated every-

        one equally, because everyone was prohibited from using the bathroom

        of a different race.” Id.

              The reasoning of Loving and Grimm directly applies here. As the

        district court explained, while the coverage exclusion may exist for all Plan

        members, the only individuals impacted by the coverage exclusion are

        transgender members. (Op. at 43.) This is clear from the plain language of

        the exclusion, which speaks in gendered terms, excluding “[t]reatments

        or studies leading to or in connection with sex changes or modifications

        and related care.” (Id. at 41-42 (quotation marks omitted).) The exclusion

        therefore draws an invidious distinction based on sex that must survive

        heightened scrutiny. See Grimm, 972 F.3d at 608 (explaining that




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        heightened scrutiny applied to policy that could not “be stated without

        referencing sex” (quotation marks omitted)).

              The Supreme Court’s decision in Geduldig v. Aiello, 417 U.S. 484

        (1974), does not alter this conclusion. In Geduldig, the Supreme Court

        held that a disability insurance program did not discriminate based on

        sex “by not paying insurance benefits for disability that accompanies

        normal pregnancy and childbirth.” Id. at 492, 494. Unlike in Geduldig,

        the Plan does not make distinctions based on conditions or diagnoses but

        based on “treatments that lead to or are connection to sex changes or

        modifications.” (Op. at 47.) The exclusion of pregnancy as a compensable

        disability is not the same as the exclusion of a medically necessary treat-

        ment solely on the grounds that it is gender-affirming when the same

        treatment is approved for cisgender members. As explained above, the

        latter exclusion is transgender discrimination, which the Supreme Court

        has held is necessarily sex discrimination. See Bostock, 140 S. Ct. at 1741.

        Because the exclusion here specifically excludes coverage for treatment

        that is medically necessary for transgender individuals when it approves




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        such coverage for cisgender plan members, 40 it discriminates on the basis

        of transgender status, and therefore on the basis of sex. See id.; see also

        Grimm, 972 F.3d at 608.

              Because the Plan’s coverage exclusion is subject to heightened

        scrutiny, appellants were required to establish that the exclusion is

        “substantially related to a sufficiently important government interest.”

        See City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 441 (1985). As

        the district court also correctly determined, they failed to do so. Putting

        aside that a State may not “protect the public fisc by drawing an invidious

        distinction between classes of its citizens,” Memorial Hosp. v. Maricopa

        Cnty., 415 U.S. 250, 263 (1974), the exclusion does not provide the Plan

        with any significant cost savings (see Op. at 48 (explaining that the

        “estimated $300,000–$900,000 saved by the exclusion per year pales in

        comparison to [the Plan’s] billion-dollar cash balance and saves each of




              40 For example, as the district court explained, “puberty suppressing

        medication may be covered if medically necessary” but “a transgender boy
        will not receive coverage for such medication—even if medically neces-
        sary—because, in the language of the Plan, it would ‘change or modify’
        his physiology in a way that does not match his female biological sex.”
        (Op. at 42 (citing Third Suppl. Decl. of Amy Richardson at 4-22 (Feb. 2,
        2022), Dist. Ct. ECF No. 201-1).)
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        the Plan’s 740,000 members about one dollar each”)). This accords with

        amici’s experience in funding medically necessary, gender-affirming

        healthcare for their own state employees and their dependents.

              Nor did appellants show that the coverage exclusion was justified

        because it protects the public from purportedly ineffective medical

        treatments. The district court correctly excluded the bulk of appellants’

        proposed expert testimony on this point as unreliable or irrelevant, and

        appellants’ remaining evidence was insufficient to meet their burden at

        summary judgment. (Op. at 49.) As explained above, amici’s overwhelm-

        ing experience shows that gender-affirming healthcare improves health-

        care outcomes among transgender people with minimal cost to the state.

        See supra at 14-16. And as the district court observed, the Plan may tailor

        concerns about medically unnecessary or harmful treatments by denying

        coverage only for such care. (Op. at 51.) There is no justification for the

        Plan’s blanket refusal to cover medically necessary, gender-affirming

        healthcare.

              Finally, the Court should also reject appellants’ argument that the

        district court’s permanent injunction is impermissibly vague. The district

        court enjoined appellants “from enforcing the Plan’s exclusion” and


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        ordered them to “reinstate coverage for ‘medically necessary services for

        the treatment of gender dysphoria.’” (Id. at 67, 72.) There is nothing vague

        about this language, and the administrators of amici’s state employee

        health plans would have no difficulty in interpreting it. Indeed, as already

        noted, amici already offer coverage for medically necessary services for

        the treatment of gender dysphoria. See supra at 7-10. In any event, the

        district court’s order explains clearly what is required of appellants—

        because the Plan covered medically necessary treatment for gender

        dysphoria in 2017, which was the last uncontested status between the

        parties, the district court directed appellants to “reimpos[e] the 2017

        rule.” (Op. at 67.) Appellants cannot explain how the Plan is unable to

        offer the same coverage that it did in 2017. As appellants concede (Br. at

        9), coverage decisions under the Plan are made by the Plan’s third-party

        administrator and pharmacy benefit manager, who both were able to

        make the necessary coverage decisions in 2017 (see Op. at 66).




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                                                        CONCLUSION

                The Court should affirm the decision below.

        Dated: New York, New York
               October 7, 2022

                                                                   Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

        Pursuant to Rule 32(a) of the Federal Rules of Appellate Procedure, Kelly
        Cheung, an employee in the Office of the Attorney General of the State of
        New York, hereby certifies that according to the word count feature of the
        word processing program used to prepare this brief, the brief contains 4,492
        words and complies with the typeface requirements and length limits of
        Rules 29 and 32(a)(5)-(7) and the corresponding local rules.


                                                  . /s/ Kelly Cheung       .
